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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION

 In re: Real Estate Commission Antitrust            )                  MDL No. 3100
        Litigation                                  )
                                                    )
                                                    )



       THE SPRING WAY CENTER PLAINTIFFS’ BRIEF IN OPPOSITION TO THE
     MOTION TO TRANSFER FOR COORDINATED OR CONSOLIDATED PRETRIAL
                              PROCEEDINGS
        Plaintiffs in Spring Way Center,, et al. v. West Penn Multi-List, Inc., et al., 2:23-cv-02061-

CCW (W.D. Pa.), respectfully submit this response in opposition to the Motion to Transfer, under

28 U.S.C. § 1407, for coordinated or consolidated pretrial proceedings filed by Plaintiffs in Gibson,

et al. v. National Association of Realtors et al. Umpa v. National Association of Realtors et al.

I.      Introduction
        Residential real estate is an inherently local business. The lawsuits at issue in the Gibson

and Umpa plaintiffs’ Motion for Transfer under 28 U.S.C. § 1407 for coordinated or consolidated

pretrial proceedings will likewise be driven by factual issues specific to each case’s local real estate

market. Seeking to avoid this fundamental reality, which has charted the course of several pending

actions for over four years, Movants instead point to a handful of similarities among the cases, all

of which, on closer inspection, will require case-specific discovery to resolve. Furthermore,

Section 1407 is a measure of last resort—yet Movants fail to address available options for less

formal coordination that have been successfully employed in earlier filed real estate commissions

lawsuits. In short, because any common issues here are overshadowed by case-specific ones, and

because informal coordination is a viable means of reducing or eliminating duplicative discovery,

Movants cannot meet their burden here. The Motion for Transfer should be denied.




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II.    Background
       The history of antitrust real estate litigation challenging the lawfulness of broker

compensation is protracted, and actions challenging the lawfulness of broker compensation rules

adopted by local multi-listing services (“MLS”) have, until very recently, been focused on “sales

in a particular geographic region.” ECF No. 1-1 at 3. The Moehrl action was filed in March 2019

in the Northern District of Illinois challenging buyer broker commission rules adopted and

enforced by brokers serving 20 local MLSs.1 The Burnett/Sitzer action was filed in April 2019 in

the Western District of Missouri challenging buyer broker commission rules adopted and enforced

by brokers serving local MLSs in Kansas City, St. Louis, Springfield, and Columbia, Missouri.2

The Nosalek action was filed in December 2020 in the District of Massachusetts challenging buyer

broker commission rules adopted and enforced by brokers utilizing the Pinergy, MLS Property

Information Network, Inc. covering several New England states.3 Plaintiffs in each of those actions

alleged that “[t]he residential real estate business is local in nature.” Moehrl Compl. (1:19cv1610

ECF 1) ¶ 66; Burnett/Sitzer Compl. (4:19cv332 ECF 1) ¶ 80; Nosalek Compl. (1:20cv12244 ECF

1) ¶ 131.

       Plaintiffs in those actions have successfully and efficiently litigated their localized disputes

in their respective jurisdictions for years. The Moehrl action has advanced through class

certification and summary judgment motions are now pending. In the Nosalek action, summary

judgment briefs have been filed, a motion for approval of a settlement with one defendant is

pending, and class certification briefing is due later this year. The Burnett/Snitzer action has

already completed trial, resulting in a much-heralded plaintiffs’ verdict with post-trial briefing



1
  Moehrl et al. v. Nat’l Ass’n of Realtors et al., No. 1:19cv1610 (N.D. Ill.).
2
  Sitzer et al v. Nat’l Ass’n of Realtors et al., No. 4:19cv332 (W.D. Mo.).
3
  Nosalek et al. v. MLS Property Information Network, Inc. et al., No. 1:20cv12244 (D. Mass.).

                                                  2
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underway. For years, these cases were litigated in different courts, without the need for any formal

centralization under § 1407.

        In the wake of the notable verdict in the Burnett/Sitzer action, home sellers who were not

covered by the earlier cases began to examine whether they had been harmed by brokers adopting

and enforcing buyer broker commission rules in their communities as well. This resulted in several

lawsuits being filed in different jurisdictions to protect the interests of home sellers in those locales.

These newer lawsuits also sought to hold accountable brokers who had not been named as

defendants in prior lawsuits (in part, because different brokers service different local geographic

markets). The Spring Way Center action,4 which was filed on December 4, 2023, in the Western

District of Pennsylvania, is one of these cases.

        The Spring Way Center action asserts claims against the West Penn Multi-List, which

covers Allegheny, Armstrong, Beaver, Butler, Washington, Westmoreland, Clarion, Crawford,

Fayette, Greene, Indiana, Lawrence, Mercer, Somerset, Venango and Erie counties in Western

Pennsylvania. The West Penn Multi-List is an independent MLS whose board is comprised of

local executives within the geographic area that the MLS encompasses, which promulgates and

enforces its own rules and policies. The Spring Way Center action also named several brokerage

firms serving that Western Pennsylvania market as defendants, including brokers named in a

recently filed amended complaint. Notably, the defendants named in Spring Way Center share no

overlap with defendants named in the other cases.

        Although most of the recently filed actions have maintained the localized focus that has

pervaded actions challenging buyer broker commission rules to date, Movants have sought to



4
 Spring Way Center, LLC et al. v. West Penn Multi-List, Inc. et al., No. 2:23-cv-2061 (W.D.
Pa.).


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greatly broaden the geographic reach of these disputes. Specifically, the Gibson action5 and the

Umpa action6 were filed in the Western District of Missouri in October and December 2023,

respectively. The Gibson and Umpa actions named several brokerages who had not been named

in earlier suits, expanded the time period covered by those earlier suits, and most significantly

sought to pursue claims based on a nationwide market for brokerage services notwithstanding the

fact that the Gibson action was brought by counsel in the Burnett/Snitzer action and the Umpa

action was brought by counsel in the Moehrl action, both of whom have repeatedly alleged and

argued in those prior cases that the real estate brokerage markets were local in scope.7 This attempt

to expand the regional scope of real estate brokerage markets is not only a departure from the

positions previously advanced in litigation, but it is also inconsistent with the practices of the FTC

and Department of Justice, which have long recognized that competition in the market for real

estate brokerage services is inherently local.8 Indeed, the expert retained by Moehrl considered the

FTC’s and Department of Justice’s recognition of real estate brokerage markets as regional, along




5
  Gibson et al. v. Nat’l Ass’n of Realtors et al., No. 4:23-cv-00788 (W.D. Mo.).
6
  Umpa v. Nat’l Ass’n of Realtors et al., No. 4:23-cv-00945 (W.D. Mo.).
7
  See, e.g., Burnett v. Nat’l Ass’n of Realtors, 19-cv-332 (W.D. Mo. Apr. 29, 2019), ECF No. 66
at 14:
        Because of these distinct markets, the discovery [in each case] will focus on the
        implementation of the Adversary Commission Rule in each market, the impact of
        the Adversary Commission Rule on market forces in each market, the degree and
        effect of any “steering” that takes place in each market . . . , and the damages arising
        out of the enactment of the Adversary Commission Rule in each market. These
        important topics of discovery will be localized and specific to each lawsuit, and this
        case will involve entirely separate non-party co-conspirator witnesses located in
        [the Western District of Missouri], and for such witnesses it will be a significant
        inconvenience to become involved in litigation pending in Illinois compared to
        here.
8
  See U.S. Dep’t of Justice & Fed. Trade Comm’n, Competition in the Real Estate Brokerage
Industry at 30-32 (Apr. 2007), available
athttps://www.ftc.gov/sites/default/files/documents/reports/competition-real-estate-brokerage-
industry-report-federal-trade-commission-and-u.s.department-justice/v050015.pdf.

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with the extensive evidence he examined in that case, in confirming that the markets for real estate

brokerage services are local.9

III.     Argument
         A.     Section 1407 transfer requires more than surface-level similarities among
                cases.
         Section 1407 permits—but does not require—the Judicial Panel on Multidistrict Litigation

to centralize, for pre-trial proceedings only, cases featuring similar factual issues but pending in

different districts. See 28 U.S.C. § 1407(a). The party seeking to have such actions coordinated or

consolidated bears the burden of demonstrating that centralization is appropriate; this burden

increases where only a few cases are involved. See In re Hyundai & KIA GDI Engine Mktg., Sales,

Practices, & Prods. Liab. Litig., 412 F. Supp. 3d 1341, 1342 (J.P.M.L. 2019). That heavier burden

should apply here, as Movants’ application seeks centralization of only 14 cases pending in 11

districts. See In re Covidien Hernia Mesh Prods. Liab. Litig., 481 F.Supp.3d 1348 (J.P.M.L. 2020)

(denying centralization and applying heightened standard to 12 actions pending in nine districts).

Moreover, the Panel has repeatedly stressed in its prior decisions that centralization “should be the

last solution after considered review of all other options.” In re Gerber Probiotics Prods. Mktg. &

Sales Practices Litig., 899 F. Supp. 2d 1378, 1379 (J.P.M.L. 2012). As such, the Panel has denied

transfer—even where Section 1407 would seem to apply—when alternatives like Section 1404

transfer or informal coordination and cooperation among the parties and the courts are feasible.

See, e.g., In re Six Flags Fair & Accurate Credit Transactions Act (FACTA) Litig., 289 F. Supp.

3d 1343, 1344 (J.P.M.L. 2018); In re Insulin Mfg. Antitrust Litig., 487 F. Supp. 1359 (J.P.M.L.

1980).



9
 Expert Class Certification Report of Professor Einer Elhauge ¶¶ 77-107 (Corrected March 8,
2022), Moehrl et al. v. Nat’l Ass’n of Realtors et al., No. 1:19cv1610 (N.D. Ill.) (ECF 324-6).

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       To meet their burden here, Movants must demonstrate that each of the cases they identify

as candidates for consolidation share “one or more common questions of fact.” 28 U.S.C.

§ 1407(a). They must also persuade the Panel that centralization “will be for the convenience of

the parties and witnesses and will promote the just and efficient conduct of” the transferred cases.

Id. Importantly, the alleged common issues of fact must be more than just surface-level similarities

or broadly similar theories of the respective cases. In re Unilever Aerosol Prods. Mktg., Sales

Practices, & Prods. Liab. Litig., No. MDL No. 3068, 2023 U.S. Dist. LEXIS 62789 (J.P.M.L. Apr.

7, 2023) (looking beyond “surface” level similarities). Instead, the common questions must be

“sufficiently complex and/or numerous” to warrant transfer. In re PPG Indus., 701 F. Supp. 2d

1379 (J.P.M.L. 2010). Relevant, too, is the number and diversity of defendants among the cases.

See In re Varsity Spirit Athlete Abuse Litig., No. MDL No. 3077, 2023 U.S. Dist. LEXIS 97733

(J.P.M.L. June 5, 2023) (diversity of defendants weighs heavily against centralization).

       These considerations have previously led the Panel to be skeptical of requests to centralize

industry-wide litigation, especially where the cases present unique factual circumstances. See In

re Baby Food Mktg., Sales Practices & Prods. Liab. Litig., 544 F. Supp. 3d 1375, 1377 (J.P.M.L.

2021) (“We have been cautious when considering industry-wide centralization…Given the

relatively minimal number of common factual questions, the potential for a multi-defendant MDL

to introduce added complexity to this litigation, and the strong opposition of numerous plaintiffs

and defendants, we are not persuaded that industry-wide centralization is appropriate.”). The Panel

should view Movants’ request here with similar skepticism, with respect to both Spring Way

Center and the array of cases identified by Movants for centralization as a whole, and deny the

Motion.




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       B.          Spring Way Center is not an appropriate case for centralization under Section
                   1407.
       The Spring Way Center case does not fit the requirements for transfer under Section 1407

because the “common” factual issues identified by Movants ignore the unique, localized factual

circumstances presented by Spring Way Center and the other cases. Moreover, to the extent there

are any similar factual issues, transfer would not make conducting the Spring Way Center litigation

more convenient for the parties and witnesses nor would it promote judicial efficiency.

              i.          The purportedly “common” fact issues do not significantly tie Spring Way
                          Center to the other cases.
       Movants identify five supposedly “common” factual issues warranting transfer under

Section 1407: (1) “[w]hether defendants entered into an agreement or conspiracy based on the

Buyer Broker Commission Rules;” (2) “[w]hether defendants possess market power in the relevant

markets;” (3) “[w]hether defendants engage in or promote steering;” (4) “whether the effect of the

agreement was to inflate total commissions and buyer broker commissions;” and (5) “[w]hether

the competitive harm from the conspiracy substantially outweighs any competitive benefits.” ECF

No. 1-1 at 7-8. Movants’ listing of “common” issues, however, depends on some sleight of hand—

lumping all “defendants” together—and amounts to little more than restating the elements of the

antitrust claims alleged in each case. Indeed, on careful examination, these supposedly “common”

fact issues melt away to reveal pronounced differences.

       The problem with Movants conflating general factual elements plaintiffs in each case will

need to address with the kinds of “common questions of fact” that make cases appropriate for

centralization under Section 1407 becomes obvious when considering the threshold issue of

defining the relevant market. See Coronavirus Reporter; CALID, Inc. v. Apple, Inc., 85 F.4th 948,

955 (9th Cir. 2023) (“Market definition is essential to any antitrust case because ‘[w]ithout a

definition of [the] market there is no way to measure [the defendant’s] ability to lessen or destroy

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competition.’”) (quoting Ohio v. Am. Express Co., 138 S. Ct. 2274, 2285 (2018)). As noted above,

plaintiffs in the Moehrl, Burnett/Sitzer and Nosalek cases all alleged in their complaints that “[t]he

residential real estate business is local in nature.” Moehrl Compl. (1:19cv1610 ECF 1) ¶ 66;

Burnett/Snitzer Compl. (4:19cv332 ECF 1) ¶ 80; Nosalek Compl. (1:20cv12244 ECF 1) ¶ 131.

They did so for good reason: “Courts generally measure a market’s geographic scope, the ‘area of

effective competition,’ by determining the areas in which the seller operates and where consumers

can turn, as a practical matter, for supply of the relevant product.” Heerwagen v. Clear Channel

Commc'ns, 435 F.3d 219, 227 (2d Cir. 2006) (citation omitted), overruled on other grounds by

Teamsters Local 445 Freight Div. Pension Fund v. Bombardier Inc., 546 F.3d 196, 201 (2d Cir.

2008). And, because of the localized nature of the residential real estate industry, home sellers—

the “consumers” in these cases—cannot, “as a practical matter,” easily turn to brokers outside of

the geographic area covered by their local MLS. As a result, even if there are some common factual

issues, they will be overshadowed by localized issues.

       Spring Way Center is representative here. First, as noted above, Spring Way Center

involves a unique slate of defendants. It also involves, as Movants acknowledge, an MLS that is

not controlled by NAR. See ECF No. 1-1 at 5. As such, although the highly generalized “common”

factual issues identified by Movants will need to be resolved in Spring Way Center, that process

will hinge on evidence related to a specific group of defendants in a particular, localized market.

See In re Unilever Aerosol Prods. Mktg., Sales Practices, & Prods. Liab. Litig., No. MDL No.

3068, 2023 U.S. Dist. LEXIS 62789 (J.P.M.L. Apr. 7, 2023). To be sure, the national conspiracy

alleged by Movants in Gibson/Umpa may sit in the background of Spring Way Center. However,

even if the anticompetitive practices alleged in Spring Way Center are similar to those developed

by NAR and those used by defendants in the other actions, proving the Spring Way Center



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plaintiffs’ claims will require particularized discovery regarding localized actors operating within

the residential real estate market in western Pennsylvania. In re Varsity Spirit Athlete Abuse Litig.,

No. MDL No. 3077, 2023 U.S. Dist. LEXIS 97733 (J.P.M.L. June 5, 2023) (individualized fact

issues weighs heavily against centralization).

       Consequently, any overlap between the factual issues at play in Spring Way Center and the

other cases is eclipsed by factual issues unique to Spring Way Center. That alone warrants the

Panel declining to transfer Spring Way Center.

             ii.        Centralization of Spring Way Center will inconvenience the parties and
                        witnesses and will not promote the just and efficient resolution of the case.
       With respect to Spring Way Center, centralization is unlikely to produce the kind of

increased convenience or gains to judicial efficiency that are the touchstone of Section 1407

transfer. First, as amply explained in the opposition submitted by the HomeServices Defendants,

much (if not all) of the discovery related to NAR and its policies has already been completed—

and has been efficiently shared among the litigants in the Moehrl, Burnett/Sitzer, and Nozalek

cases. See, ECF No. 81 at 14-15. As a result, far from increasing convenience and efficiency,

centralization of Spring Way Center would unnecessarily burden its parties. Second, because of

the limited overlap between ono the additional issues raised by Spring Way Center and other cases,

it is unlikely that consolidation would do much to avoid duplicative discovery, as common

discovery is likely to be limited.

       C.          Movants have not met their burden to demonstrate that transfer is
                   appropriate.
       The factors making centralization inappropriate in the case of Spring Way Center extend

to many, if not all, of the other cases at issue here. First, like Spring Way Center, a number of the

other cases Movants identify as candidates for centralization involve MLSs not subject to NAR’s

mandatory MLS rules. And, again like Spring Way Center, all of the cases brought on behalf of

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home sellers (besides Gibson/Umpa) plead claims related to geographically distinct residential real

estate markets. Each will require locality-specific discovery regarding the practices of the

defendants in each case and the effect those practices have on the local residential real estate

market. Finally, many of the cases here also involve state law claims, including some, like Spring

Way Center, that are based in state consumer protection law rather than antitrust.

        These factors strongly suggest that centralization will only increase—rather than

streamline—the complexity of pretrial proceedings. As noted above, significant common

discovery has already been conducted in the Moehrl, Burnett, and Nosalek cases. Furthermore,

each of those cases (which appear to have been strategically left out here) are at advanced

procedural postures. Far from supporting Movants’ purported concerns about inconsistent rulings

on potentially similar issues, the history of these cases—which includes well-reasoned decisions

on, for example, motions to dismiss, motions for class certification, and summary judgment—

provides the courts in the later-filed cases with a substantial body of judicial experience on which

to draw when similar issues arise in their cases. Moreover, because Moehrl, Burnett, and Nosalek,

along with Batton I and Batton II (which pursue similar antitrust claims, but on behalf of

homebuyers) will not be transferred if this Motion is granted, the requested centralization will do

little to diminish the risk of inconsistent rulings.

        D.      Movants fail to address options other than centralization which may be viable
                here.
        Next, as noted above, centralization under Section 1407 is a final resort. See In re Gerber

Probiotics Prods. Mktg. & Sales Practices Litig., 899 F. Supp. 2d 1378, 1379 (J.P.M.L. 2012)

(centralization “should be the last solution after considered review of all other options.”). Here,

Movants do not even attempt to address other available options. To be sure, transfer under Section

1404(a) is not a viable alternative, given the localized nature of the claims and defendants in these


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actions and the actions’ geographic dispersion. See 28 U.S.C. § 1404(a) (permitting transfer only

to a district where an action “might have been brought or to any district or division to which all

parties have consented”). On the other hand, less formal means of coordination are available, as

demonstrated by the sharing and coordination of discovery that has already been accomplished in

the Moehrl, Burnett/Sitzer, and Nozalek cases. To the extent that any additional common discovery

will need to be taken, there is no reason to think the parties will be unable to effectively coordinate

to avoid duplication and unnecessary expense. See In re Crest Sensitivity Treatment & Prot.

Toothpaste Mktg. & Sales Practices Litig., 867 F. Supp. 2d 1348 (J.P.M.L. 2012) (“Various

mechanisms are available to minimize or eliminate the possibility of duplicative discovery even

without an MDL. Notices of deposition can be filed in all related actions; the parties can stipulate

that any discovery relevant to more than one action can be used in all those actions; or the involved

courts may direct the parties to coordinate their pretrial activities.”).

        E.      The Spring Way Center plaintiffs join the HomeServices Defendants’ request
                for oral argument.
        Finally, the Spring Way Center plaintiffs believe oral argument would assist the Panel in

deciding the present Motion and so join the oral argument statement filed by the HomeServices

Defendants.

IV.     Conclusion
        For the foregoing reasons, the Plaintiffs in the Spring Way Center case respectfully request

that the Panel deny the Motion for Transfer.



 DATED: January 26, 2024                             Respectfully Submitted,

                                                     /s/ Bruce C. Fox       .

                                                     Bruce C. Fox, Esq. (PA ID 42576)
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                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION

 In re: Real Estate Commission Antitrust          )                  MDL No. 3100
        Litigation                                )
                                                  )
                                                  )

                                 CERTIFICATE OF SERVICE

       In compliance with Rule 4.1(a) of the Rules of Procedure for the United States Judicial

Panel on Multidistrict Litigation, I hereby certify that a copy of the foregoing Brief in Opposition

to the Motion to Transfer for Coordinated or Consolidated Pretrial Proceedings was served on all

parties on January 26, 2024, electronically through the CM/ECF system, which sent notification

of said filing to all counsel of record who are registered as CM/ECF users and have entered an

appearance.

       I further certify that on January 29, 2024, copies of the for the foregoing Brief in

Opposition to the Motion to Transfer for Coordinated or Consolidated Pretrial Proceedings were

mailed by first class mail to the following:

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Irvine, California 92612

JP PICCININI REAL ESTATE SERVICES, LLC
11891 Frg Dr
Frisco, Texas, 75035

Keller Williams Realty, Inc.
1221 South Mopac Expy, Suite 400
Austin, TX 78746

Keller Willis San Antonio, Inc.
10999 W Ih 10 Ste 175
San Antonio, TX 78230-1349

Long & Foster Companies, Inc.
3975 Fair Ridge Dr.
Fairfax, Virginia 22033

Marin Association of Realtors
40 Mitchell Blvd
San Rafael, CA 94903

Mark Anthony Dimas
16700 Huffmeister Rd
Cypress, TX 77429

Method Real Estate Group, LLC d/b/a Method Real Estate Advisors
1792 Woodstock Rd Ste 100
Roswell, Georgia, 30075

Metrotex Association of Realtors, Inc.
1701 Kinwest Parkway
Irving, TX 75063

MDHM, LLC
19315 FM 2252 Suite 155
Garden Ridge, TX 78266


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MJHM LLC
19315 FM 2252 Suite 155
Garden Ridge, TX 78266

Modern Spaces LLC
1027 46th Ave 410
Long Island City, New York, 11101

Moreland Properties, Inc.
3825 Lake Austin Blvd #501
Austin, TX 78703

National Association of Realtors
430 N. Michigan Ave
Chicago, IL 60611-4087

Nest Seekers International LLC
505 Park Ave
New York, NY 10022

North Bay Association of Realtors
475 Aviation Blvd., Suite 220
Santa Rosa, CA 95403

North Texas Real Estate Information Systems, Inc.
1950 N Stemmons Fwy Ste 3018
Dallas, Texas, 75207

Northern Solano County Association of Realtors, Inc.
3690 Hilborn Rd
Fairfield, CA 94534

NRT PHILADELPHIA LLC d/b/a Coldwell Banker Realty
175 Park Ave
Madison, New Jersey, 07940

Palmerhouse Properties, LLC
2911 Piedmont Rd NE Ste B
Atlanta, Georgia, 30305
Path & Post, LLC d/b/a Path & Post Real Estate
214 River Park N Drive
Woodstock, GA 30188

Penfed Realty, LLC
2930 Eisenhower Ave


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Alexandria, VA 22314

PIRAIN ENTERPRISES, INC. d/b/a NextHome PPM Realty
1308 Peermont Avenue
Pittsburgh, PA, 15216

PPSIR, LLC d/b/a Piatt Sothebys International Realty
9101 Foxhunt Rd 9101 Foxhunt Rd
Pittsburgh, Pennsylvania, 15237

RE/MAX Holdings, Inc.
5075 S Syracuse St
Denver, CO, 80237-2712

Real Agent LLC
13785 Research Blvd. Suite 125
Austin, TX 78750

Real Broker, LLC
100 King Street West, Suite 1600
Toronto, A6 M5X 1G5
Ontario, Canada

Real Brokerage, Inc.
100 King Street West, Suite 1600
Toronto, A6 M5X 1G5
Ontario, Canada

Realty Austin, LLC
3801 N Capital of Texas Hwy
Austin, TX 78746

REALTY ONE GROUP HORIZON, LLC
3731 William Penn Hwy Suite 200
Murrysville, PA 15668

Realty ONE Group, Inc.
23811 Aliso Creek Rd., Suite 168
Laguna Niguel, California 92677

Redfin Corporation
1099 Stewart St Ste 600
Seattle, WA 98101




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RFT Enterprises, Inc.
640 N CARROLL AVE STE 100
Southlake, TX 76092

San Antonio Board of Realtors, Inc.
9110 IH-10 W
San Antonio, TX 78230

San Antonio Legacy Group, LLC
1102 E SONTERRA BLVD STE 106
San Antonio, TX 78258

Sanders Realty Holdings, LLC
625 Molly Ln
Woodstock, Georgia 30189

SF LLC
427 Cochran Rd
Pittsburgh, PA 15228

Side, Inc.
580 4th Street
San Francisco, CA 94107

Signature Properties Group, Inc.
600 Sea Island Rd. ST.
SIMONS ISLAND, Georgia 31522

Solano Association of Realtors, Inc.
1302 Springs Rd
Vallejo, CA 94591

Solid Source Realty
10900 Crabapple Rd
Roswell, Georgia, 30075

Square MB, LLC
6400 IMPERIAL DR
Waco, Texas 76712

Team Burns, LLC
1 COWBOYS WAY STE 571
Frisco, Texas, 75034

Temple-Belton Board of Realtors, Inc.
2703 Exchange Plz


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Temple, Texas, 76504

Texas Association of Realtors, Inc.
1115 San Jacinto Blvd Ste 200
Austin, Texas, 78701

The Agency LLC
88 University PI 3rd Floor
New York, NY 10003

The Loken Group, Inc.
11037 Fm 1960 Rd W Ste Al
Houston, Texas, 77065

The Michael Group LLC
10300 N Central Expy 220
Dallas, Texas, 75231

The Modlin Group LLC
152 WEST 57TH STREET, 18TH FLOOR
NEW YORK, NY, 10019

Tracey Cousineau Real Estate, LLC
1755 N Brown Rd Ste 110
Lawrenceville, Georgia, 30043

Turner Mangum LLC
15010 FM 2100 Rd
Crosby, TX, 77532-9132

United Real Estate
5430 Lyndon B. Johnson Freeway, Suite 270
Dallas, Texas 75240

Victoria Area Association of Realtors, Inc.
2906 E Airline Rd.
Victoria, Tx 77901

Weichert of North America, Inc.
225 Littleton Rd, Morris
Plains, NJ, 07950

Weichert Realtors
1625 Route 10 East
Morris Plains, New Jersey 07950



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WEST PENN MULTI-LIST, INC
8980 Perry Highway
Pittsburgh, Pennsylvania 15237

Williamson County Association of Realtors, Inc.
123 E Old Settlers Blvd.
Round Rock, TX 78664


       I further certify that, in accordance with Rule 3.2(d), I caused a courtesy copy of the

foregoing, marked “Courtesy Copy – Do Not File”, to be sent to:

                                       Clerk of the Panel
                     United States Judicial Panel on Multidistrict Litigation
                        Thurgood Marshall Federal Judiciary Building
                     One Columbus Circle, NE, Room G-255, North Lobby
                                    Washington, DC 20544


 DATED: January 26, 2024                          /s/ Bruce C. Fox      .




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